                       Case 1:21-cr-00003-RCL Document 1 Filed 01/08/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                     DistrictDistrict
                                                __________    of Columbia
                                                                      of __________

                  United States of America                        )
                             v.                                   )
                  Jacob Anthony Chansley
                                                                  )      Case No.
                                                                  )
                                                                  )
                                                                  )
                                                                  )
                          Defendant(s)


                                                CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                  January 6, 2021              in the county of                                    in the
                       District of          Columbia          , the defendant(s) violated:

            Code Section                                                    Offense Description
18 U.S.C. 1752 (a)(1) and (2)                  Knowingly Entering or Remaining in any Restricted Building or Grounds
                                               Without Lawful Authority

40 U.S.C. 5104(e)(2)(A) and (G)                Violent Entry and Disorderly Conduct on Capitol Grounds




         This criminal complaint is based on these facts:
See attached statement of facts.




         ✔ Continued on the attached sheet.
         u


                                                                                             Complainant’s signature

                                                                              Special Agent James Soltes U.S. Capitol Police
                                                                                              Printed name and title

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7HOHSKRQH VSHFLI\UHOLDEOHHOHFWURQLFPHDQV 
                                                                                                        G. Michael Harvey
                  01/08/2021                                                                            2021.01.08 16:26:27 -05'00'
Date:
                                                                                                Judge’s signature

City and state:                         Washington, DC                     G. Michael Harvey, United States Magistrate Judge
                                                                                              Printed name and title
